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                              UNITED STATES BANKRUPTCY COURT
                                 MIDDLE DISTRICT OF FLORIDA
                                       TAMPA DIVISION

IN RE:                                                          Chapter 11

LESLIE P. HOLDSWORTH,                                           Case No.: 8:13-bk-00745-MGW

   Debtor(s).                   /

                     ORDER GRANTING MOTION TO "CRAM-DOWN"

         THIS CASE came on for hearing January 14, 2015, on the Debtor’s Motion to “Cram-

Down” (Docket #201) (the “Motion”) and Seterus, Inc. as the Authorized Subservicer for Federal

National Mortgage Association’s Claimant’s Objection to Motion for “Cram-Down” (Docket #204).

The Court having heard argument of counsel, considered the record, and being further advised in the

premises, finds it appropriate to grant the Motion.

         Accordingly, it is

         ORDERED that the Motion is hereby Granted.
                                                                         February 26, 2015
         DONE and ORDERED in chambers at Tampa, Florida, on ____________________.




                                                Michael G. Williamson
                                                United States Bankruptcy Judge

              Attorney for Debtor, Buddy D. Ford, Esquire, is directed to serve a copy
              of this order on interested parties and file a proof of service within three
              (3) days of entry of the order.
